IN THE UNITED STATES COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

AT NASHVILLE
RANDAL L. DELBRIDGE, )
)
Plaintiff, )
)
vs. ) Docket No.
) JURY DEMAND
STATE OF TENNESSEE, )
)
Defendant. )

VERIFIED COMPLAINT

COMES NOW the Plaintiff, RANDAL L. DELBRIDGE, and for cause of action against

Defendant, STATE OF TENNESSEE, would show this Honorable Court as follows:

I. JURISDICTION AND PARTIES
1. The Plaintiff was a citizen and resident of Rutherford County, Tennessee at the
time of the incidents contained herein.
2. The Defendant, State of Tennessee (“State”) was his employer for sixteen years
prior to this cause of action.
3. The Plaintiff would submit that, at all times hereto, the Defendant was a covered
“employer” subject to Title VII of The Civil Rights Act of 1964, the Age Discrimination
in Employment Act (ADEA) and the Americans with Disabilities Act on 1990.
4, The Plaintiff would further submit, at all times material hereto, he was an

employee of the Defendant, subject to the rights and protections set forth in Title VII of

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the Civil Rights Act of 1964 and the Age Discrimination in Employment Act (ADEA)
and the Americans with Disabilities Act on 1990.

>. The Plaintiff would respectfully submit he has met all conditions precedent of
Title VII of the Civil Rights Act of 1964 and the Age Discrimination in Employment Act
(ADEA) and the Americans with Disabilities Act on 1990 in that:

A. A charge of employment discrimination on the basis of the Plaintiff’s age
and disability was filed with the Equal Employment Opportunity Commission (“EEOC”)
within three hundred (300) days of the commission of the last unlawful practice alleged
herein;

B. A Notice of the Plaintiff’s right to sue was received from the EEOC on or
about September 26, 2019;

C. This complaint was filed within 90 days of the receipt of his right-to-sue

letter; and

D. This complaint was voluntarily dismissed without prejudice on January
29, 2023.
6. The Plaintiff invokes the jurisdiction of this Court pursuant to Title VII of the

Civil Rights Act of 1964. The Plaintiff would further submit this Court maintains
Jurisdiction of claims made under the Tennessee Human Rights Act, TCA section

4-1-121, et seg., pursuant to 28 U.S.C sec. 1367.

i. STATEMENT OF FACTS

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7. The Plaintiff would adopt and re-state the allegations contained in paragraphs 1-6
as if fully set forth herein.

8. The Plaintiff was hired by the Defendant on or about 2002 as a full time
employee.

9. The Plaintiff performed well in his job and received favorable job evaluations
until he began having disagreements because of his status as an at home employee.

10. Plaintiff had an open and notorious impediment to mobility made most obvious
by returning reliance of a walking cane in 2017 and 2018. This history and condition was
known to his employer to span the decade past and had corrective surgery in
approximately 2010.

11. Plaintiff was allowed to participate in an Alternate Work Station (AWS) program
as were most if not all other members of his department. The extent of the Title I
accommodation was nothing more than extending an already existing State of Tennessee
program from three to five days. While there was no clearly defined existing policy on
how to request an ADA Title I accommodation in 2018, Plaintiff’s request was clear,
succinct and repeatedly requested, both orally and in writing. These requests clearly met
any requirement and the preexistence of deployed AWS overcomes any undue burden.

12. Plaintiff, to his knowledge, had received no formal write ups or reprimands to his
termination. In fact, Plaintiff was not aware of any dissatisfaction with his performance,

real or specious, until the date of his termination.

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13. The Plaintiff is over 40 years of age and has a disability, in that he has a severe
lower extremity condition that prevents him from sitting for long periods of time

including driving.

COUNT I
CIVIL RIGHT AIMS

14. The Plaintiff would adopt and re-state the allegations set forth in paragraphs 1-13
as if fully set forth herein.

15. The Plaintiff would submit, at all times material hereto, that he was a qualified
individual and the laws set out in Title VII of the Civil Rights Act of 1964 and the Age
Discrimination in Employment Act (ADEA) and the Americans with Disabilities Act on
1990 apply to him and that he is protected under these laws.

16. Plaintiff submits that the State, his employer, violated his constitutional rights by
discriminating against his for his age and / or his disability.

17. Furthermore, the Plaintiff would submit that his attempt to notify his supervisors
of the Civil Right violations resulted in his removal and subsequent termination. Thus,
the Plaintiff would submit the motive for his termination was retaliation for his efforts to
seek a reasonable accommodation for his age and disability.

18. In the alternative, the Plaintiff would submit that his termination was motivated
by the Defendant’s desire to obviate its requirements set out in the Civil Rights Act and

the Age Discrimination in Employment Act (ADEA).

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19. In sum, the Plaintiff would submit the Defendant discriminated against him
because of his age and disability. Finally, the Plaintiff would submit the Defendant’s
proffered non-discriminatory reasons for termination have been pre-textual.

20. Asa direct and proximate result of the Defendant’s actions, the Plaintiff has been
injured and / or damaged, including, but not limited to, lost wages, lost benefits,

emotional stress, embarrassment and humiliation, and other damages.

COUNT I
STATE HUMAN RIGHTS CLAIM

21. The Plaintiff would adopt and re-state the allegations contained in paragraphs
1-20 as if fully set forth herein.

22. The Plaintiff would submit, at all times material hereto, he was a covered
individual and employee and was protected by the Tennessee Human Rights Act.

23. Furthermore, the Plaintiff would submit he is, and was, able to perform the
required job. Plaintiff states that all other members of his department were allowed to
work from home and that he was singled out and required to report to his office because
he had raised objections and had called out discrimination to another employee and his
alleged insubordination was actually whistleblowing and that his removal was retaliatory.
24. Finally, the Plaintiff would submit the Defendant knowingly discriminated against
the Plaintiff because of his age and disability.

25. That the actions and conduct of the Defendant violate the Tennessee Human

Rights Act, T.C.A section 4-21-101, et seq.

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26. As a direct and proximate result, the Plaintiff suffered the damages set forth in

paragraph 28 of his complaint.

Ill. PRAYER

WHEREFORE PREMISES CONSIDERED the Plaintiff would pray this Honorable
Court for the following relief:

A. That process issue upon the Defendant and it be required to file an answer within

the time period prescribed by law;

B. That a jury be empaneled to hear and decide all issues triable;

C. That the Plaintiff be granted a judgment against the Defendant for all

compensatory damages he may show himself entitled upon the final trial of this cause;

D. That the Plaintiff be granted a judgment against the Defendant for all punitive

damages he may show himself entitled upon the final trial of this cause;

E, That the Plaintiff be granted his reasonable attorney fees pursuant to 42 USC

section 12205; and

F, That the Plaintiff be granted such other general relief to which he may show

himself entitled upon a final trial in this case.

RESPECTFULLY SUBMITTED this the 28th day of January 2024.

tet”. Graves II BPR #27261
Attomey for the Plaintiff

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PO Box 398

Murfreesboro, TN 37133-0398
(615) 896-4154

615-896-4152 Fax
digraves@bfhelaw.com

OATH

STATE OF TENNESSEE )
COUNTY OF RUTHERFORD _ )

Comes now the Plaintiff, RANDAL L. DELBRIDGE, being first duly sworn according to
the law, make oath that the facts stated in the foregoing Complaint are true to the best of his
knowledge and belief; that his Complaint is not made out of levity or by collusion with the
Defendants, but in sincerity and truth for the causes mentioned in said Complaint; and that she is

entitled to the redress sought. L
fof Lh —

RANDAL L. DELBRIDGE

Sworn and subscribed before me on this 29th day of January 2024.

Kebettz Monae.

Notary Public

TENNESSEE
NOTARY

My Commission Expires:

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